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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

KAREN SAUNDERS,                                     )
         Plaintiff,                                 )
                                                    )   Case No. 1:17-cv-00335
       v.                                           )
                                                    )
DYCK O’NEAL, INC.,                                  )   Hon. Judge Gordon J. Quist
          Defendant.                                )

                            PLAINTIFF’S OPPOSITION TO
                        MOTION FOR INTERLOCUTORY APPEAL

       DONI has asked the Court to reconsider its summary judgment ruling or, alternatively,

certify an issue for interlocutory appeal. Because W.D. Mich. L.R. 7.4(b) provides that “[n]o

answer to a motion for reconsideration will be allowed unless requested by the Court,” Plaintiff

here addresses only the portion of Defendant’s motion seeking an interlocutory appeal.1

       First, this Court need not entertain untimely requests to certify an order for interlocutory

appeal. DONI here waited two-and-a-half months to bring the instant motion—all the while

continuing to litigate this case without once indicating any intent to do so—and its motion

should, therefore, be denied on that basis alone.

       Moreover, the Court’s thorough and well-reasoned summary judgment determination

properly held that prerecorded voicemails made to consumers’ cell phones constituted “calls.”

There is no substantial ground for a difference of opinion on this point, and certification of the

Court’s summary judgment order for appeal is therefore inappropriate.

       Consequently, and as further detailed below, Defendant’s motion for an order certifying

the Court’s summary judgment order for interlocutory appeal should be denied.


1
       Plaintiff only notes that, where, as here, a motion for reconsideration “merely present[s]
the same issues ruled upon by the Court,” W.D. Mich. L.R. 7.4(a) provides that, notwithstanding
the Court’s discretion, such motions “shall not be granted.”
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I.      BACKGROUND

        A.      The Telephone Consumer Protection Act

        The Telephone Consumer Protection Act of 1991 (“TCPA”), 47 U.S.C. § 227, was

enacted in response to widespread public outrage over the proliferation of intrusive, nuisance

calling practices. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012). Congress found

that the unique, personal nature and added cost of mobile phone use mandated strong consumer

protections, specifically targeting the autodialed and prerecorded calls it considered to be a

greater nuisance and privacy invasion than calls from “live” persons. In re Rules & Regs.

Implementing the TCPA, 30 FCC Rcd. 7961, at ¶ 124 (2015). Indeed, as the Supreme Court held

in a different context: “The unwilling listener’s interest in avoiding unwanted communication is

an aspect of the broader ‘right to be let alone’ ... the most comprehensive of rights and the right

most valued by civilized men.” Hill v. Colorado, 530 U.S. 703, 716–17 (2000) (citation omitted).

        The TCPA broadly prohibits “mak[ing] any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using any automatic

telephone dialing system or an artificial or prerecorded voice ... to any telephone number

assigned to a ... cellular telephone service[.]” 47 U.S.C. § 227(b)(1)(A)(iii). “[It] is essentially a

strict liability statute [that] does not require any intent for liability except when awarding treble

damages.” Alea London Ltd. v. Am. Home Servs., Inc., 638 F.3d 768, 776 (11th Cir. 2011).

        B.      Case Background

        Defendant debt buyer Dyck O’Neal, Inc. (“DONI”) used a telecommunications vendor,

VoApps, to leave dozens of prerecorded voicemail messages on Plaintiff’s cell phone in an

attempt to collect a purported debt she does not owe. Dkt. 36 at 3-7. These calls were all made

without Plaintiff’s consent and, in fact, DONI continued to call Plaintiff after she directly asked



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it to stop. Id.; Dkt. 36-1, Saunders Decl. ¶¶ 9-10; Compl. ¶¶ 18-19. Plaintiff brought this action

against DONI on April 12, 2017, seeking redress for the autodialed and prerecorded calls DONI

made to herself and others in violation of the TCPA. Compl. ¶ 27. On December 22, 2017,

Plaintiff furnished to DONI the Rule 26(a)(2) report of her expert, Randall Snyder, who opined,

among other things, that DONI’s DirectDrop Voicemail messages were “calls” to the recipients,

identical in every meaningful way to the capabilities and functionalities of an automated text

message, e-mail-to-text, or unattended message dialing system. Dkt. 36-2, Snyder Rep. ¶¶ 63-

68, 69-72, 80-85, 114-121. Snyder’s testimony is unrebutted: DONI did not move to strike it or

submit a competing expert report. Nonetheless, on April 18, 2018, DONI moved for summary

judgment as to whether its VoApps messages are “calls” under the TCPA. Dkt. 25.

       The Court denied DONI’s summary judgment motion after full briefing on July 16, 2018,

and held that “Dyck O’Neal’s direct-to-voicemail messages are a ‘call’ under the TCPA[.]” Dkt.

50, Order at 7. The parties conferred by phone through counsel on July 26, 2018, and Plaintiff

issued a second set of discovery requests to DONI on August 21, 2018, after waiting several

weeks as a courtesy at the request of defense counsel. Pursuant to the Court’s order, Dkt. 51, the

parties submitted a Joint Proposed Discovery Plan on September 6, 2018. Dkt. 52, and

participated in a Rule 16 conference on September 11, 2018, Dkt. 53. DONI failed to indicate

any intent to move for reconsideration or for leave to appeal in either representation to the Court,

even though, for example, Paragraph 12 of the parties’ Joint Proposed Discovery Plan was

intended to identify contemplated motions, and despite the conferral requirement of W.D. Mich.

L.R. 7.1(d). Nonetheless, on October 3, 2018, DONI moved for reconsideration or certification

for leave to appeal as to the Court’s denial of its summary judgment motion. Dkt. 55-56.

       As detailed herein, Plaintiff requests that the Court deny DONI’s motion.



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II.    LEGAL STANDARD

       “[O]nly ‘exceptional circumstances [will] justify a departure from the basic policy of

postponing appellate review until after the entry of a final judgment.’” Iron Workers Local

Union No. 17 Ins. Fund v. Philip Morris Inc., 29 F. Supp. 2d 825, 831 (N.D. Ohio 1998). “Under

28 U.S.C. § 1292(b), a district judge has discretionary authority to certify an order for

interlocutory appeal.” Delta Turner, Ltd. v. Grand Rapids-Kent Cty. Convention/Arena Auth.,

No. 08-544, 2009 WL 579374, at *1 (W.D. Mich. Mar. 4, 2009).2 If the court chooses, it may

certify an order for appeal if three requirements are met: “‘(1) the order involves a controlling

question of law, (2) a substantial ground for difference of opinion exists regarding the

correctness of the decision, (3) an immediate appeal may materially advance the ultimate

termination of the litigation.’” Id. (quoting In re City of Memphis, 293 F.3d 345, 350 (6th Cir.

2002)). “Congress intended that section 1292(b) should be sparingly applied. It is to be used only

in exceptional cases where an intermediate appeal may avoid protracted and expensive litigation

and is not intended to open the floodgates to a vast number of appeals from interlocutory orders

in ordinary litigation.” Kraus v. Bd. of Cty. Rd. Comm’rs, 364 F.2d 919, 922 (6th Cir. 1966).

III.   THIS IS NOT ONE OF THE “EXCEPTIONAL CASES” IN WHICH AN
       INTERLOCUTORY APPEAL SHOULD BE PERMITTED.

       The Court’s sound reasoning in denying summary judgment was backed by abundant

case law and regulatory decisions, undisputed evidence of Congressional intent, and the plain,

dictionary meaning of the TCPA’s statutory text. There is no substantial ground for a difference

of opinion—in fact, when VoApps itself tried to get the FCC to hold that its prerecorded


2
         See 28 U.S.C. § 1292(b) (“When a district judge, in making in a civil action an order not
otherwise appealable under this section, shall be of the opinion that such order involves a
controlling question of law as to which there is substantial ground for difference of opinion and
that an immediate appeal from the order may materially advance the ultimate termination of the
litigation, he shall so state in writing in such order….”).
                                                 4
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voicemails fell outside the auspices of the TCPA, VoApps tellingly withdrew its petition the very

next day after presenting to FCC officials.3 Nor will an appeal materially advance the ultimate

termination of this litigation: This case will not benefit from an indeterminate delay on DONI’s

specious, rehashed arguments, especially where Defendant can’t even get the facts right in its

proposed “question” for appeal to begin with. As such, the Court should decline to grant

certification of its order for appeal, and DONI’s untimely motion should be denied.

       First, Defendant’s request that the Court certify its summary judgment order for appeal

should be denied as untimely. “District courts across the country have ... exercised their

discretion to deny motions for certification deemed untimely[,]” including requests for Section

1292(b) certification filed as early as thirty days after the interlocutory order. Teladoc, Inc. v.

Texas Med. Bd., No. 15-343, 2016 WL 4362208, at *3 (W.D. Tex. Aug. 15, 2016) (citing cases);

see also Richardson Elecs., Ltd. v. Panache Broad. of Pa., Inc., 202 F.3d 957, 958 (7th Cir.

2000) (recognizing that while “[t]here is no time limit in the statute or in any applicable rules for

seeking the district judge’s permission to appeal under 1292(b), ... a district judge should not

grant an inexcusably dilatory request[,]” and finding “no excuse” for the defendants’ taking two

months to do so, in denying leave to appeal). The Court here entered its summary judgment

ruling on July 16, 2018 [Dkt. 50]—after which DONI waited more than two-and-a-half months

to file its instant motion [Dkt. 55]. Not only that, but DONI’s motion comes after Plaintiff’s

counsel acceded to DONI’s request for an extension to respond to outstanding discovery

(materials DONI now appears unwilling to produce), and after Defendant’s participation in the

Court’s Rule 16 conference [Dkt. 52, 53]—all without once indicating that it intended to ask that

the Court certify an order for appeal. DONI’s motion is thus untimely and violates W.D. Mich.


3
     Notice of FCC Meeting (June 11, 2015) (https://ecfsapi.fcc.gov/file/60001077801.pdf);
VoApps Letter of Withdrawal (June 11, 2015) (https://ecfsapi.fcc.gov/file/60001077815.pdf).
                                                   5
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L.R. 7.1(d), and it should be denied on this basis alone.4

        Second, there is no substantial ground for a difference of opinion. “The ‘substantial

ground’ requirement has been characterized as ‘a genuine doubt or conflicting precedent as to the

correct legal standard.’” Hurley v. Deutsche Bank Tr. Co. Americas, No. 08-361, 2009 WL

1067314, at *3 (W.D. Mich. Apr. 21, 2009) (citation omitted) (Quist, J.). “Substantial grounds

for a difference of opinion exist when (1) the issue is difficult and of first impression; (2) a

difference of opinion exists within the controlling circuit; or (3) the circuits are split on the

issue.” Id. (citing W. Tenn. Chapter of Associated Builders & Contractors, Inc. v. City of

Memphis, 138 F. Supp. 2d 1015, 1019 (W.D. Tenn. 2000). In the absence of conflicting case law

on the issue, the fact that a defendant “simply disagrees with the Court’s rulings … is insufficient

to create a difference of opinion” that might warrant certifying an order for appeal. Id.5

        This case is similar to this Court’s prior decision in Hurley v. Deutsche Bank Tr. Co.

Americas, No. 08-361, 2009 WL 1067314 (W.D. Mich. Apr. 21, 2009). There, the defendant

likewise moved for reconsideration or certification for interlocutory appeal of a prior order—

specifically, as to whether an implied right of action exists under the SCRA. Id. at *1. While the

Court recognized that the matter at issue appeared to be one of first impression in the Sixth

Circuit, it noted that “there [wa]s no conflict within the Sixth Circuit on any of the issues

identified [], nor [wa]s there a circuit split on any of those issues.” Id. at *3. As such, the Court


4
        The Sixth Circuit has held that “[a]ny motion which draws into question the correctness
of a judgment or order is generally construed as a motion under Rule 59(e), regardless of how the
motion is captioned[,]” Barnett v. Cross, 894 F.2d 1336 (6th Cir. 1990), providing that “[a]
motion to alter or amend a judgment must be filed no later than 28 days after the entry of the
judgment.” Thus, while “[a] timely Rule 59(e) motion tolls the appeal time for all parties until
entry of the order granting or denying the motion[,]” even if viewed this way, DONI’s motion is
untimely, having been filed more than two months after the Court’s summary judgment order.
5
        See also Sussman v. I.C. Sys., Inc., No. 12-181, 2013 WL 5863664, at *3 (S.D.N.Y. Oct.
30, 2013) (noting “[a] party that offers only arguments rejected on the initial motion does not
meet the second requirement of § 1292(b)[,]” and denying certification of appeal in TCPA case).
                                                   6
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found that the lack of conflicting decisions could not stand as a basis for certification of an

interlocutory appeal, and held the defendant’s disagreement with the Court’s ruling “insufficient

to create a difference of opinion.” Id. Here, too, DONI’s mantra that “this is a case of first

impression” is not enough to satisfy its burden of showing substantial grounds warranting

certification, because, as in Hurley, there exists no conflicting precedent or basis for genuine

doubt as to the Court’s order.6 See Id. (indicating that an issue of first impression can serve as

ground for a difference of opinion, but with the caveat that the issue must also be “difficult”).

       DONI’s bare assertion aside, there can be no genuine doubt as to the soundness of the

Court’s order: DONI cites no case law or regulatory or other precedent that conflicts with the

Court’s order—let alone a Circuit split on the issue—and thereby concedes that these potential

grounds for a difference of opinion cannot support an appeal.7 Dkt. 56, Def.’s Br. at 12; Hurley,

2009 WL 1067314, at *3.8 Moreover, the Court’s finding that DONI’s VoApps voicemails were

calls under the TCPA do not portray a “difficult” decision: The Court’s order is bolstered by

numerous decisions and FCC rulings supporting a broad interpretation of “call” under the TCPA9



6
        Tellingly, the little substantive argument DONI makes on this point is entirely devoid of
citations to any authority it claims supports a different result. See Dkt. 56, Def.’s Br. at 13-14.
7
        Compare Lynn v. Monarch Recovery Mgmt., Inc., 953 F. Supp. 2d 612, 626 (D. Md.
2013) (denying motion for certification of an order for appeal in TCPA case, noting that “for
purposes of § 1292(b), the litigants’ positions are irrelevant—otherwise, every contested decision
would be appropriate for immediate interlocutory appeal. What matters is whether the movant
has shown a substantial ground for differences of opinion among the courts.”); Landsman &
Funk, P.C. v. Skinder-Strauss Assocs., No. 08-3610, 2013 WL 466448, at *6 (D.N.J. Feb. 8,
2013) (denying defense motion for certification of appeal in TCPA case based on lack of
“substantial ground” for different opinion).
8
        See Somogyi v. Freedom Mortg. Corp., No. 17-6546, 2018 WL 3656158, at *2 (D.N.J.
Aug. 2, 2018) (denying motion to dismiss in TCPA case in which plaintiff alleged defendant's
use of “ringless voicemail” to place calls, although TCPA “call” issue not directly addressed).
9
        Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 953-54 (9th Cir. 2009) (using
dictionary definition of “call”—i.e., “to communicate with or try to get into communication with
a person by a telephone”—in affirming that text messages are “calls” under TCPA); Gager v.
Dell Fin. Servs., LLC, 727 F.3d 265, 271 (3d Cir. 2013) (“The TCPA is a remedial statute that
                                                  7
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—including Sixth Circuit precedent10—and the Court was resolute in its decision, finding that

“[t]o hold otherwise ‘would elevate form over substance, thwart Congressional intent that

evolving technologies not deprive mobile consumers of the TCPA's protections, and potentially

open a floodgate of unwanted [voicemail] messages to wireless consumers.’” Dkt. 50, Order at 7

(quoting In re Rules & Regs. Implementing the TCPA, 30 FCC Rcd. 7961, at ¶ 115 (2015)).

       DONI’s unsupported suggestion that this Court is somehow incapable of employing basic

principles of statutory construction to interpret the TCPA merely because other courts haven’t

yet explicitly considered VoApps’ messages is dead wrong,11 and it conveniently ignores the fact

that the only reason the FCC hasn’t yet ruled on VoApps specifically is because VoApps

abruptly withdrew its petition for such the day after what must have been a disastrous ex parte

presentation of its position, infra fn. 3. Likewise, DONI’s assertion that the TCPA was only

designed to prevent “repeated, dropped or dead air calls,”12 and its tone-deaf claim that its

VoApps messages somehow benefit consumers by “allow[ing] recipients the freedom … to

retrieve a message or not,” conflict with the text of the TCPA,13 abundant court and regulatory

decisions citing the its broad remedial purpose in preventing unwanted phone communications,



was passed to protect consumers from unwanted automated telephone calls.... Because [of this],
it should be construed to benefit consumers.”).
10
        Keating v. Peterson’s Nelnet, LLC, 615 F. App’x 365, 370-71 (6th Cir. 2015) (finding
text messages engender same unwanted intrusions as calls Congress intended to prevent in
enacting TCPA, in “unhesitatingly” agreeing that they should be treated as “calls” under statute).
11
        There is no doubt that this Court has jurisdiction over Plaintiff’s TCPA claims. Mims,
565 U.S. at 386-87 (confirming that U.S. district courts have federal-question jurisdiction over
TCPA claims). Moreover, that a case is “of first impression” does not somehow deprive a district
court of its ability to interpret a statute. See, e.g., DeGeorge v. C.D. Cal., 219 F.3d 930, 940 (9th
Cir. 2000) (affirming district court’s interpretation of statute on “issue of first impression,” even
though, unlike here, there was limited history showing legislative intent).
12
        DONI’s suggestion that a statute that prohibits prerecorded messages was not designed to
prohibit prerecorded messages is ridiculous.
13
        See 47 U.S.C. § 227(b)(1)(A)(iii) (broadly prohibiting making “any” call to a cell number
using an autodialer or prerecorded voice, except in an emergency or with consent).
                                                 8
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e.g., Gager, 727 F.3d at 271, and even the legislative history, finding that consumer complaints

about unwanted messages clogging up voicemail was a reason the TCPA was enacted.14

       In short, DONI used VoApps to communicate with Plaintiff through her cell phone. To

hold that these dozens of unwanted telephone communications didn’t constitute calls would

ignore the dictionary-definition and plain-use meaning of the word “call,” longstanding case law

and regulatory precedent, and the remedial purpose of the TCPA in preventing unwanted

telephone communications. There are no “substantial grounds”—or even reasonable grounds—

for an alternative opinion, and DONI fails to specific a single decision or other authority to

support its argument beyond its bare conclusion that the issues in this case are “subject to a good

faith difference of opinion.” Dkt. 56, Def.’s Br. at 13. This is not good enough. While it is true

that the Court’s order was dispositive of an important issue in the case, DONI asked the Court to

decide the issue on an expedited schedule. As the Court held in Hurley, that Defendant “simply

disagrees with the Court’s rulings … is insufficient to create a difference of opinion,” 2009 WL

1067314, at *3, and DONI’s motion should, thus, be denied.

       Finally, the proposed “question” DONI asks this Court to certify raises issues of fact that

don’t accurately reflect the VoApps dialing system it used to call Plaintiff and, thus, wouldn’t

materially advance this litigation or resolve any controlling legal issue in this case for which

certification of an order for appeal might be granted.15 “A ‘question of law certified for

interlocutory appeal must refer to a pure question of law that the reviewing court could decide


14
        Compare S. Rep. No. 102-178, 2, 1991 U.S.C.C.A.N. 1968, 1969 (Oct. 8, 1991) (citing
complaints from consumers about automated calls “fill[ing] the entire tape of an answering
machine, preventing other callers from leaving messages”), with Dkt. 36-4, Gies Dep. at 42
(                                                                                             ).
15
        DONI’s request that the Court certify a “question” for appeal is contrary to § 1292(b),
which permits certification of “orders.” See In re Trump, 874 F.3d 948, 951 n.3 (6th Cir. 2017)
(“[S]ection 1292(b) authorizes certification of orders for interlocutory appeal... Thus, if the
petition is granted, we retain full discretion to review the district court’s order.”).
                                                  9
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quickly and cleanly without having to study the record.’” Wright v. Linebarger Googan Blair &

Sampson, LLP, No. 10-2304, 2012 WL 1022240, at *10 (W.D. Tenn. Mar. 26, 2012) (citation

omitted). DONI asks the Court to certify whether “delivery of a message directly to the landline

of a wireless service provider which bypasses the recipient’s cell phone number and handset,

altogether, and does not otherwise result in any charge to the recipient qualifies as a ‘call’ subject

to the prohibitions set forth in 47 U.S.C. § 227(b)(1)(A)(iii).” Dkt. 56, Def.’s Mot. at 10. Plaintiff

disagrees with DONI’s characterization of its VoApps calls—which is a factual issue this Court

has already considered in denying summary judgment.16 DONI’s messages were not only

designed to be delivered to Plaintiff’s cell phone handset, they were in fact delivered to her cell

phone handset as intended. And whether a subscriber is “charged” for the call has no bearing on

whether calls violate the TCPA. Kane v. Nat'l Action Fin. Servs., Inc., 2011 WL 6018403, at *8

(E.D. Mich. Nov. 7, 2011) (TCPA plaintiff need not be charged for calls). Because DONI’s

proposed “question” for appeal raises issues of fact (as well as apparently new legal arguments)

regarding the physical process of its VoApps calls—and utterly ignores its calls’ purpose and

result—DONI fails to identify a controlling question of law for which 28 U.S.C. § 1292(b)

certification would be proper. As such, its motion should be denied.

IV.    CONCLUSION

       For the foregoing reasons, Defendant’s motion for reconsideration or certification of

issues for interlocutory appeal [Dkt. 55] should be denied.



16
       For instance, VoApps does deliver messages to the voicemails associated with particular
cell numbers

               . Dkt. 36-4, Gies Dep. at 34. Moreover,

                                                   . Dkt. 36-4, Gies Dep. at 22-23, 25; Dkt. 36-1,
Saunders Decl. ¶ 7. Re-litigating these factual issues is not appropriate for a § 1292 certification.
                                                 10
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Dated: October 17, 2018                              Respectfully submitted,

                                                     KAREN SAUNDERS

                                                     By: s/ Alexander H. Burke

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 17, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                              s/ Alexander H. Burke




                                                11
